

People v Pagan (2025 NY Slip Op 02656)





People v Pagan


2025 NY Slip Op 02656


Decided on May 01, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 01, 2025

Before: Renwick, P.J., Manzanet-Daniels, Higgitt, Rosado, Michael, JJ. 


Ind No. 70911/22|Appeal No. 4234|Case No. 2022-02888|

[*1]The People of the State of New York, Respondent,
vGeorge Pagan, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (Adrienne Wells of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Vincent Rivellese of counsel), for respondent.



Order, Supreme Court, Bronx County (Raymond L. Bruce, J.), entered on or about June 9, 2022, which adjudicated defendant a level two sex offender pursuant to the Sex Offender Registration Act (SORA) (Correction Law art 6-C), unanimously affirmed, without costs.
The court providently exercised its discretion in denying defendant's request for a downward departure. "[T]he large number of child pornography . . . videos, the particularly disturbing nature of some of the material, the duration of defendant's retention of the material, and his trading of the material with others" indicate a likelihood of re-offense (People v Ryan, 157 AD3d 463 [1st Dept 2018], lv denied 31 NY3d 904 [2018]). Many of the images and videos defendant possessed and shared with others were sadomasochistic in nature (see People v Field, 214 AD3d 418, 419 [1st Dept 2023], lv denied 40 NY3d 902 [2023]). For these reasons, defendant poses a "threat to public safety" (People v Cabrera, 91 AD3d 479, 479 [1st Dept 2012], lv denied 19 NY3d 801 [2012]). The mitigating factors presented by defendant were adequately taken into account by the risk assessment instrument (see generally People v Gillotti, 23 NY3d 841, 861 [2014]) or were "outweighed by the egregiousness of defendant's conduct" (Field, 214 AD3d at 419).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 1, 2025








